Case 1:17-cr-00232-EGS Document 248-1 Filed 09/24/20 Page 1 of 13




                                                                    DOJSCO - 700023504
Case 1:17-cr-00232-EGS Document 248-1 Filed 09/24/20 Page 2 of 13




                                                                    DOJSCO - 700023505
Case 1:17-cr-00232-EGS Document 248-1 Filed 09/24/20 Page 3 of 13




                                                                    DOJSCO - 700023506
Case 1:17-cr-00232-EGS Document 248-1 Filed 09/24/20 Page 4 of 13




                                                                    DOJSCO - 700023507
Case 1:17-cr-00232-EGS Document 248-1 Filed 09/24/20 Page 5 of 13




                                                                    DOJSCO - 700023508
Case 1:17-cr-00232-EGS Document 248-1 Filed 09/24/20 Page 6 of 13




                                                                    DOJSCO - 700023509
Case 1:17-cr-00232-EGS Document 248-1 Filed 09/24/20 Page 7 of 13




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Case 1:17-cr-00232-EGS Document 248-1 Filed 09/24/20 Page 8 of 13




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Case 1:17-cr-00232-EGS Document 248-1 Filed 09/24/20 Page 9 of 13




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Case 1:17-cr-00232-EGS Document 248-1 Filed 09/24/20 Page 10 of 13




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Case 1:17-cr-00232-EGS Document 248-1 Filed 09/24/20 Page 11 of 13




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Case 1:17-cr-00232-EGS Document 248-1 Filed 09/24/20 Page 12 of 13




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Case 1:17-cr-00232-EGS Document 248-1 Filed 09/24/20 Page 13 of 13




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